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    IT IS ORDERED as set forth below:



    Date: September 22, 2020
                                           _____________________________________
                                                      Wendy L. Hagenau
                                                 U.S. Bankruptcy Court Judge

_______________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


IN RE:                                              :    CHAPTER 7
                                                    :
MARY TORRENCE WILLIAMS,                             :    CASE NO. 20-62464-WLH
                                                    :
         Debtor.                                    :
                                                    :

    ORDER APPROVING SETTLEMENT WITH DEBTOR UNDER RULE 9019 OF THE
               FEDERAL RULES OF BANKRUPTCY PROCEDURE

         On August 24, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Mary Torrence Williams (“Debtor”), filed his

Motion for Order Authorizing Settlement with Debtor under Rule 9019 of the Federal Rules of

Bankruptcy Procedure [Doc. No. 37] (the “Motion”), seeking an order approving a settlement

agreement (the “Settlement Agreement”) between Trustee and Debtor (collectively, the

“Parties”) wherein, inter alia,1 Debtor shall pay $19,800.00 (the Settlement Funds”) to Trustee


1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.



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for the interest of the Bankruptcy Estate (the “Interest”) in that certain improved real property

with a common address of 2518 Chimney Ridge Drive, SW, Conyers, Georgia 30094 (the

“Property”). In return, the Interest of the Bankruptcy Estate in and to the Property shall be

deemed abandoned upon the later of: (1) Trustee’s receipt in full of the Settlement Funds from

Debtor in good funds; and (2) this Order becoming final.2 In addition, the Parties stipulate and

agree that Debtor shall not have a claim under Section 502(h) of the Bankruptcy Code in the

Bankruptcy Case for or on account of payment of the Settlement Funds, or for any reason, and

that neither Debtor nor any of her affiliates, agents, principals, or subsidiaries shall receive a

distribution from the Bankruptcy Estate until all allowed claims against the Bankruptcy Estate

are paid in full, under applicable law. Moreover, Debtor waives any and all obligations that the

Bankruptcy Estate may otherwise have to pay to Debtor out of the Settlement Funds on account

of exemptions asserted by or on behalf of Debtor, if any, in the Property, the Interest, or the

Settlement Funds. Finally, the Settlement Agreement includes default provisions should Debtor

fail to make the Scheduled Payments totaling $19,800.00. The complete terms of the Settlement

Agreement are set forth in Exhibit “A” to the Motion.

        Also on August 24, 2020, Trustee filed Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 38] (the “Notice”) regarding the Motion, in accordance with General Order

No. 24-2018. Counsel for Trustee certifies that he served the Notice on all requisite parties in

interest on August 24, 2020. [Doc. No. 39].




2
      Capitalized terms not defined herein shall have the meaning ascribed to them in the
Motion.


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        The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

objection deadline provided in the Notice.

        The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

        ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated herein. It is further

        ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement Agreement. It is further

        ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                     [END OF DOCUMENT]


Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of entities to be served:

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